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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

Civil Action No. 04-cv-01655-RPM
MESA OIL, INC.,
Plaintiff,
v.
UNITED STATES OF AMERICA,

Defendant.

 

ORDER

 

Upon the stipulation of Plaintiff Mesa Oil, Inc., and defendant United States of America, it
is hereby

ORDERED that this matter is remanded to the Appeals Office of the Internal Revenue
Service for a collection due process hearing, the Appeals Office will schedule the hearing by giving
written notice to plaintiff;

ORDERED that after conducting the collection due process hearing the Appeals Office
shall issue a Supplemental Notice of Determination; and it is further

ORDERED that, ifthe IRS chooses not to conduct the hearing required by the preceding
paragraph, the IRS will immediately withdraw the notice of intent to levy that is the subject of
this case; and it is further

ORDERED that the Court shall retain jurisdiction over this matter; and it is further

ORDERED that within thirty days after the issuance of the Supplemental Notice of

Determination by the Appeals Office, the plaintiff may, if it desires, request that the Court

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conduct a hearing on the Supplemental and/or Original Notice of Determunation.

Dated this Af

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day of hk

, 2005.

BY T LANA Lo

Richgf dP. Matsch
Rich United States District Judge

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